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                                                                                     EASTEUR.SN. D1STR1
                                                                                                 DISTR T
                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

SANDRA CARTER, on behalf of herself
and all other similarly situated individuals

vs.



MERIDIAN FINANCIAL SERVICES, INC.                                                   ~E~ENDA~
                                                           Thi• e11ae ...igoed   to 01•tr
                                                           1md to Magistrate Judge               d~ ~7
                                     NOTICE OF REMOVAL

         TO THE CLERK OF THE UNITED ST ATES DISTRICT COURT FOR THE
         EASTERN DISTRICT OF ARKANSAS, WESTERN DIVISION, AND TO ALL
         PARTIES:

         PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1331, 1367, and 1453, and

reserving any and all defenses available under Rule 12 of the Federal Rules of Civil Procedure,

Defendant Meridian Financial Services, Inc. ("Meridian'') hereby removes this action from the

Circuit Court of Pulaski County, Arkansas, Fifth Division, to the United States District Court for

the Eastern District of Arkansas. In support of this Notice of Removal, Meridian states:

         A Notice of Removal is required to be a "short plain statement of the grounds for

removal, together with a copy of all process, pleadings, and orders served upon such

defendant or defendants in such action." 28 U.S.C. § 1446(a). A copy of all process,

pleadings, and orders in the Circuit Court of Pulaski County, Arkansas are attached as

Exhibits A, 1 to 4. The grounds for removal are as follows.

                                  THE STATE COURT ACTION

         1.        Plaintiff Sandra Carter, on behalf of herself and all other similarly situated

individuals ("Plaintiff') originally commenced this lawsuit against Meridian by filing her


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.·                 Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 2 of 39



     Complaint on April 5, 2016. A copy of the original Complaint filed in state court is attached to
                                                                                                                1
     this notice as Exhibit A-2. Meridian was served with Plaintiffs Complaint on May 1, 2016. A

     copy of the Summons filed in state court is attached to this notice as Exhibit A-3. Nothing in this

     Notice of Removal shall be interpreted as a waiver or relinquishment of Meridian's rights to

     assert any defense to Plaintiffs Complaint.

              2.        As required by 28 U.S.C. § 1446(b)(l), Meridian is timely filing this Notice of

     Removal within 30 days after the receipt by Meridian, through service, of a copy of the initial

     pleading against it setting forth the claim for relief upon which such action or proceeding is

     based.

              3.        Plaintiff claims generally that Meridian engaged in unlawful debt collection

     practices, and that it charged collection fees that were not authorized by contract or law.

     (Complaint at      if    19). Plaintiff alleges that she executed an Interval Ownership Contract (the

     "Contract") and Installment Note with non-party Stormy Point Village - Phase III ("Stormy

     Point") on or about January 5, 2010, and that the Contract required that Plaintiff pay

     maintenance fees to Stormy Point's Property Owner's Association (the '"POA"). (Id. at                 iii! 6-7).

     Plaintiff further alleges that her past due maintenance fees were referred to Meridian for

     collection by the POA. (Id. at if 9).

              4.        Plaintiff alleges that the acts and om1ss10ns of Meridian were undertaken

     willfully, maliciously, intentionally, knowingly, and in gross or reckless disregard of the rights of

     Plaintiff. (Id. at      if   25). Plaintiff further alleges that the acts and omissions of Meridian were

     undertaken indiscriminately and persistently, as part of its regular and routine debt collection


     1
       Plaintiffs Affidavit of Service, attached hereto as Exhibit A-4, reflects a service date of May 10, 2016, but
     Meridian's records reflect that it was served via hand-delivery on May I, 2016. For purposes of this Notice of
     Removal, and for determining the timeliness of its removal under 28 U.S.C. § 1446(b), Meridian will refer to the
     service date as May 1, 2016.

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     efforts, and without regard to or consideration of the identity or rights of Plaintiff or other

     persons who have been objects of its unlawful collection practices. (Id.      at~   26).

               5.       Plaintiff maintains that she has suffered actual damages and injury, including but

     not limited to the cost of her legal defense to the collection efforts, mental anguish and suffering,

     emotional distress, intimidation, humiliation, embarrassment, negative impact on credit score,

     and denied opportunity to use her timeshare unit in an amount to be proven at trial. She also

     claims that she is entitled to punitive damages. (Id.    at~~   27-28).

               6.       Plaintiff also asserts class action causes of action in her Complaint for:

                           a.   attempting to collect a fee not authorized by the agreement creating the

                                debt, attempting to collect a fee not expressly authorized by Arkansas (or

                                Missouri) law, attempting to collect a fee not recognized by Arkansas (or

                                Missouri) case law, and making a false representation and deceptive

                                means to attempt to collect a consumer debt, all in violation of the Fair

                                Debt Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692(e)(2)(A) and

                                (B) and§ 1692(£)(1);

                           b. engaging in unfair collection practices by attempting to collect a fee

                                incidental to the principal obligation not expressly authorized by the

                                agreement creating the debt or permitted by law, and making false

                                representation of the character, amount, or legal status of the debt, or any

                                services rendered or compensation that may be lawfully received by a debt

                                collector for the collection of the debt in violation of the Arkansas Fair

                                Debt Collection Practices Act ("AFDCPA") at Ark. Code Ann. § 17-24-

                                506 and Ark. Code Ann. § 17-24-507. Plaintiff also requests an



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                               enhancement of her damages to the extent to which noncompliance with

                               the AFDCP A was intentional and persistent under Ark. Code Ann. § 17-

                               24-512; and

                           c. declaratory judgment and injunctive relief. (Complaint at 'if'il 32-45).

     THE REQUIREMENTS FOR FEDERAL QUESTION JURISDICTION ARE SATISFIED

               7.       This Court's jurisdiction must be assessed by examining the Complaint on its face

     at the time of filing this Notice of Removal. See Wis. Dep't ofCorrs. v. Schacht, 524 U.S. 381,

     390, 118 S.Ct. 2047, 2053 (1998) ("for purposes of removal jurisdiction, we are to look at the

     case of the time it was filed in state court") (citation omitted); McLain v. Anderson Corp., 567

     F.3d 956, 965 (8th Cir 2009).

               8.       This action is subject to removal to this Court pursuant to 28 U.S.C. § 1331 and

     28 U.S.C. § 1367. Plaintiff asserts violations of the Fair Debt Collection Practices Act (15

     U.S.C. § 1692 et seq.) and is removable because the claim asserted by Plaintiff invokes federal

     question jurisdiction.

               9.       Since this Court has subject matter jurisdiction over Plaintiffs Fair Debt

     Collection Practices Act under 28 U.S.C. § 1367, this Court may exercise supplemental

     jurisdiction over the remaining claims because they are part of the same case or controversy. 28

     U.S.C. § 1367; Exxon Mobil Corp. v. Allapattah Serv., Inc., 545 U.S. 546, 125 S. Ct. 2611

     (2005).

                                      PROCEDURAL REQUIREMENTS

               15.      Removal to Proper Court. Pursuant to 28 U.S. C. §§ 1441(a) and 1446(a), this

     Notice of Removal is being filed in the United States District Court of the Eastern District of




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Arkansas, which is the federal district court embracing the court where the State Court Action

was filed.

          16.      Removal is timely. This Notice of Removal is timely since it is being filed within

30 days after receipt of the Complaint. 28 U.S.C. § 1446(b).

          18.      Venue. Venue is proper in this district and division under 28 U.S.C. § 1441(a)

because the state court where the action has been pending is located in this district.

          19.      Pleadings and Process. Meridian has attached hereto as exhibits all pleadings,

process, or orders from the Circuit Court of Pulaski County, Arkansas, Fifth Division in

compliance with 28 U.S.C. § 1446(a). Meridian has paid all fees required by law in connection

with this Notice of Removal.

         20.       Notice. Contemporaneous with the filing of this Notice of Removal, Meridian is

filing a Notice of Filing of the Notice of Removal with the Clerk of the Court of Pulaski County,

Fifth Division, pursuant to 28 U.S.C. § 1446(d), a copy of with is attached hereto as Exhibit B.

         21.       Consent to Removal. Meridian is the only defendant in this case, and therefore no

other consent is required.

         22.       No previous application has been made for the reliefrequested herein.

         23.       Nothing in this Notice of Removal and/or the Notice of Filing of Notice of

Removal shall be interpreted as a waiver or relinquishment of Meridian's rights to assert any

defenses, including, but not limited to, the defenses of: (1) lack of subject matter jurisdiction (2)

lack of personal jurisdiction; (3) improper venue; (4) insufficiency of process; (5) insufficiency

of service of process; (6) failure to state a claim upon which relief can be granted; and (7) any

other pertinent defenses under federal law. By virtue of the filing of this Notice of Removal and




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the Notice of Filing of Notice of Removal, Meridian expressly reserves, and does not waive, its

right to assert any and all defenses to this action.

         24.       Meridian reserves the right to amend or supplement this Notice of Removal.

         25.       Based upon the foregoing, this Court has jurisdiction over the matter.

         WHEREFORE, Defendant Meridian Financial Services, Inc. removes the above-

captioned matter now pending in the Circuit Court of Pulaski County, Arkansas, Fifth Division,

to the United States District Court for the Eastern District of Arkansas.

                                                 Respectfully submitted,



                                         By:


                                                 One Union National Plaza
                                                 124 West Capitol Ave., 20th Floor
                                                 Little Rock, Arkansas 72201
                                                 Main Dial: 501.975.3000
                                                 Facsimile: 501.975.3001
                                                 ashley .hudson@kutakrock.com

                                                 Attorneys for Defendant Meridian Financial
                                                 Services, Inc.


                                    CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2016, I filed the foregoing document with the Clerk of
the Court by using CM/ECF system which will send a Notice of Electronic Filing to those parties
designated with the Court to receive notification and also by U.S. Mail.

Timothy J. Cullen
Cullen & Co., PLLC
P.O. Box 3255
Little Rock, Arkansas 72203
timW)cullenandcompany. com




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         EXHIBIT ''A-1 ''
                           Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 8 of 39
---~-·!111.tiltiple claims. If a complaint asserts multiple claims which involve different subject ma ~~I~ FILED
       circuit court, the cover sheet for that division which Is most definitive of the nature of the ca~M-~&QMfu~~c~~n~y ~~rk
                                                                                                                          0


       selected and completed.                                                                           2016-A r-05 11 :16:44
                                                   COVERSHEET
                                                STATE OF ARKANSAS
                                                CIRCUIT COURT: CIVIL
     The civil reporting form and the information contained herein shall not be admissible as evidence in any court proceeding
     or replace or supplement the filing and service of pleadings, orders, or other papers as required by law or Supreme Court
     Rule. This form is required pursuant to Administrative Order Number 8. Instructions are located on the back of the form.
                                                        FILING INFORMATION
     County: PULASKI                                   District: - - - - - - - Docket Number: CV
     Judge: _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                         ----------
                                                      Division:                   Filing Date: - - - - - - - - - - -
         . t'ff SAN ORA CARTER and others                            Defendant: MERIDIAN FINANCIAL SERVICES, INC.
     Pl arn 1 : - - - - - - - - - - - - - - - -

     Attorney Providing Information: TIM CULLEN                        P.O. BOX 3255
    KPlaintiff        o Defendant    o Intervenor                      Address
                                                                       LITTLE ROCK, AR 72203
     Litigant, if Pro Se:
                                                          Address
     Related Case(s): Judge_ _ _ _ _ _ _ _ _ _ __         Case Number(s) - - - - - - - - - - - - - -
     Type of Case:
     Torts                               Equity                              Miscellaneous
     o (NM) Negligence- Motor Vehicle    0 (FC) Foreclosure                  o (CD) Condemnation
     o (NO) Negligence: other            0 (QT) Quiet Title                  o (RE) Replevin
     D (BF) Bad Faith                    D (IJ) Injunction                   0 (DJ) Declaratory Judgment
     o (FR) Fraud                        0 (PT) Partition                    o (UD) Unlawful Detainer
     o (MP) Malpractice                  D (OT) Other   _  _ _  _ _ _  _ _   0   (IN) Incorporation
     o (PL) Product Liability                                                o (EL) Election
     IX. (OD) Other_Fo_c_P_A_ _ _ _ __                                       0 (FJ) Foreign Judgment
     Contracts                                                               o (WT) Writs_ _ _ __
     D (IS) Insurance                                                        o (AA) Administrative Appeal
     o (DO) Debt: Open Account                                               o (CF) Property Forfeiture
     D (PN) Debt: Promissory Note                                            D (RD) Remove Disabilities
     0 (EM) Employment                                                       D (NC) Name Change
     o (QC) O t h e r - - - - - - - -                                        D (OM) O t h e r - - - - - -
    Jury Trial Requested: ~ Yes D No                         Manner of Filing:     IX.
                                                                                     Original D Re-open D Transfer
                                                                                   D Return from Federal/Bankruptcy Court
                                                  DISPOSITION INFORMATION
     Disposition Date:                                            D Bench Trial     D Non-Trial            D Jury Trial
     Judgment Type:                         Dismissal Type:                          Other:
     D (DJ) Default Judgment                0 (DW) Dismissed with Prejudice          D (TR) Transferred to Another
     D (SJ) Summary Judgment                D (DN) Dismissed without                        Jurisdiction
     D (CJ) Consent Judgment                        Prejudice                        D (RB) Removed to Bankruptcy Court
     D (TJ) Trial Judgment                                                           D (RF) Removed to Federal Court
     D (OJ) Other Judgment                                                           0 (AR) Arbitration
     D (PG) Petition Granted
     D (PD) Petition Denied
     D (DF) Decree of Foreclosure
     Judgment For:
      D Plaintiff 0 Defendant          D Both              Judgment Amount: $ - - - - - - - - - - - - - -

     Clerk's Signature                                               Date
     AOC 23 10-01                                                                 Send 1 paper or electronic copy to AOC upon filing
     625 Marshall Street                                                          Send 1 paper or eleciron1c copy to AOC upon disposrt1on



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                                                                                  Keep onginal in court file
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         EXHIBIT ''A-2''
      Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 10 of 39
                                                                           ELECTRONICALLY FILED
                                                                              Pulaski County C1rcu1t Court
                                                                            Larry Crane, Circu1t/County Clerk
                                                                            2016-Apr-05 11 :16:44
                                                                               60CV-16-1941
              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAa-"_ _c_o_
                                                                      5
                                                                        o_o_5_:_9 _P_ag_e_s_~

SANDRA CARTER, on behalf of herself                                                      Plaintiff
and all other similarly situated individuals

vs.                                    Case No._ _ __

MERIDIAN FINANCIAL SERVICES, INC.                                                    Defendant


                              CLASS ACTION COMPLAINT

         Sandra Carter, for her class action complaint, states:

                            Parties, Jurisdiction, and Venue

         1.     Plaintiff is a resident of Pulaski County, Arkansas.

         2.     Defendant is a foreign for-profit corporation duly registered and in

good standing with the Arkansas Secretary of State.

         3.     Defendant's registered agent for service of process is Corporate

Creations Network, Inc., 609 SW grh Street, #600, Bentonville, AR 72712.

         4.     Defendant is a debt collector and is engaged in collection of consumer

debts in the State of Arkansas and in other states.

         5.     Jurisdiction lies with this court, and venue is proper.

                             Facts Common To All Counts

         6.     Plaintiff executed an Interval Ownership Contract and Installment

Nate with Stormy Point Village - Phase III ("Stormy Point Contract") on or about

January 5, 2010.       That contract is attached as Exhibit 1 and incorporated by

reference.




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       7.     The Stormy Point Contract requires Plaintiff to pay maintenance fees

to the Stormy Point Village - Phase III Property Owners Association (hereinafter,

"the POA"). Ex. 1 at paragraph 2.

       8.     The POA referred past-due maintenance fees to Meridian Financial

Services, Inc. (hereinafter, "Meridian") for collection.

       9.      Plaintiff was not properly notified that her maintenance fees were

past due; however, the POA referred Plaintiffs maintenance fees to Meridian for

collection.

       10.     Between July 26, 2013 and May 18, 2015, Meridian contacted Plaintiff

on a regular basis, in writing and by telephone.

       11.     Plaintiff disputed that her maintenance fees were past due, and

disputed the amount, but Meridian continued collection efforts while Plaintiffs

dispute was pending.

       12.     Plaintiff filed a complaint with the Consumer Financial Protection

Bureau (CFPB), an agency of the federal government.

       13.     Meridian failed to timely respond to Plaintiff's CFPB complaint.

       14.    Among her complaints to the CFPB, Plaintiff objected to Meridian

adding a substantial collection fee to the claimed balance.

       15.    Attached as Exhibit 2 and incorporated by reference is a collection

letter from Meridian to Plaintiff dated May 18, 2015.         It demands payment of

$1,364.72.

       16.     The Meridian collection letter at Ex. 2 includes a substantial collection

fee in addition to the disputed past-due balance.



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          17.   Meridian has admitted that a collection fee was added. See Exhibit 3,

December 23, 2015 Letter from Meridian at para. 4.

          18.   In Ex. 3, Meridian claims the collection fee is authorized by POA

policy.

          19.   The Stormy Point Contract at Ex. 1 does not contain any provision for

adding collection fees for delinquent maintenance fees.

          20.   The Assessment Billing and Collection Policy (Attached as Exhibit 4

and incorporated by reference) is not a part of the Stormy Point Contract.

          21.   At the time of closing and signing on the Stormy Point Contract,

Plaintiff was not advised of any "Assessment Billing and Collection Policy" for the

POA.

          22.   The "Assessment Billing and Collection Policy" was never signed by

Plaintiff evidencing her review or approval.

          23.   Even after notice from Plaintiff by way of her CFPB complaint that she

objected to the added collection fee based on no contractual authority to add such a

fee, Meridian persisted in claiming the collection fee, in addition to the disputed

principal balance, was due.

          24.   The foregoing acts and omissions were undertaken on behalf of

Defendant by its officers, agents or employees acting at all times relevant hereto

within the scope of that relationship.

          25.   The foregoing acts and omissions of Defendant were undertaken by it

willfully, maliciously, intentionally, knowingly, and in gross or reckless disregard of

the rights of Plaintiff.



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       26.     Indeed, the foregoing acts and omissions of Defendant were

undertaken by it indiscriminately and persistently, as part of its regular and routine

debt collection efforts, and without regard to or consideration of the identity or

rights of Plaintiff or other persons who have been the objects of its unlawful

collection practices.

       27.     As a proximate result of the foregoing acts and omissions of

Defendant, Plaintiff has suffered actual damages and injury, including, but not

limited to, the cost of her legal defense to the collection efforts, mental anguish and

suffering, emotional distress, intimidation, humiliation, embarrassment, negative

impact on credit score, and denied opportunity to use her timeshare unit, for which

she should be compensated in an amount to be proven at trial.

       28.    As a result of the foregoing acts and omissions of Defendant, and in

order to punish it for its outrageous and unlawful conduct as well as to deter it from

committing similar acts in the future as part of its debt collection efforts, Plaintiff is

entitled to recover punitive damages in an amount to be proven at trial.

                                         CLASS

       29.    This action is maintained as a class action on behalf of the following

described class: all consumers residing in Arkansas who, commencing one year

before the date of filing of this Complaint, have been or will be the objects of

Defendant's unlawful debt collection practices, specifically, consumers who were

charged collection fees that were not authorized by contract or law.

       30.    This action is appropriately maintained as a class action as the class is

so numerous that joinder of all members is impracticable, there are questions of law



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     or fact common to the class, the claims of the representative party are typical of the

     claims of the class, and the representative party will fairly and adequately protect

     the interests of the class; in addition, Defendant has acted or refused to act on

     grounds generally applicable to the class, thereby making appropriate final

     injunctive relief or corresponding declaratory relief with respect to the class as a

     whole.

               31.   Unless Defendant is enjoined and restrained from continuing the

     foregoing illegal practices, Plaintiff and the class whom she represents will suffer

     substantial and irreparable injury for which they have no adequate remedy at law.

                                       CAUSES OF ACTION

                                  Count 1 - FDCPA Violations

               32.   Congress enacted the FDCPA "to eliminate abusive debt collection

     practices by debt collectors, to insure that those debt collectors who refrain from

     using abusive debt collection practices are not competitively disadvantaged, and to

     promote consistent State action to protect consumers against debt collection

     abuses." 15 U.S.C. § 1692(e).

               33.   Meridian Financial Services, Inc. is licensed as an Arkansas collection

     agency.

               34.   Meridian Financial Services, Inc. regularly collects and attempts to

     collect consumer debts in Arkansas from Arkansas residents, and residents of other

     states.

               35.   The collection fee added to Plaintiffs account by Meridian violates the

     FDCPA, 15 U.S.C. §§ 1692e(2)(A) and (B) and 1692f(1), in four ways:



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              (A) the collection fee is not authorized by the agreement creating the

              debt;

              (B) the fee is not expressly authorized by Arkansas (or Missouri) law;

              (C) the fee is not recognized by Arkansas (or Missouri) case law; and

              (D) Defendant's demand for the collection fee is a false representation

              and deceptive means to attempt to collect a consumer debt.

       36.    Plaintiff is entitled to actual damages, statutory damages, attorneys'

fees, and court costs. Plaintiffs damages should be enhanced to the extent to which

the noncompliance was intentional and persistent (even after notice of the violation

in the CFPB proceedings).

       37.    Plaintiff is entitled to punitive damages against Meridian for their

knowing and willful illegal conduct as described above.

                            Count 2 - State Law Violations

       38.    The Arkansas Fair Debt Collection Practices Act defines as an unfair

collection practice in violation of Arkansas law: "(1) The collection of an amount,

including interest, a fee, a charge, or an expense incidental to the principal

obligation unless the amount is expressly authorized by the agreement creating the

debt or permitted by law;" Ark. Code Ann.§ 17-24-507 (West).

       39.    The Arkansas Fair Debt Collection Practices Act also forbids "(2) The

false representation of:

       (A)    The character, amount, or legal status of a debt; or

       (8)    Any services rendered or compensation that may be lawfully received

              by a debt collector for the collection of a debt;



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              Ark. Code Ann.§ 17-24-506 (West).

       40.    The actions of Meridian described above (adding a collection fee that

is not authorized by the agreement creating the debt, or otherwise authorized by

Arkansas law) are in violation of the Arkansas Fair Debt Collection Practices Act as

both an unfair collection practice and false and misleading representations

regarding the amount of the debt.

       41.    Plaintiff is entitled to actual damages, statutory damages, attorney

fees, and court costs. Plaintiffs damages should be enhanced to the extent to which

the noncompliance was intentional and persistent (even after notice of the violation

in the CFPB proceedings). Ark. Code Ann.§ 17-24-512 (West).

       42.    Plaintiff is entitled to punitive damages against Meridian for their

knowing and willful illegal conduct as described above.

              Count 3 - Declaratory Judgment and Injunctive Relief

       43.    Plaintiff prays for a declaratory judgment that Meridian's practice of

adding unauthorized collection fees to consumer collection accounts violates State

and Federal law.

       44.    Plaintiff prays for a permanent injunction enjoining Meridian from

adding unauthorized collection fees to consumer collection accounts.

       45.    Plaintiff prays for equitable disgorgement of all fees collected in

violation of applicable law.

       46.    Plaintiff requests a jury trial on all issues triable to a jury.




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       WHEREFORE, premises considered, Plaintiff Sandra Carter, individually and

on behalf of a class of similarly situated consumers with collection accounts with

Defendant Meridian Financial Services, Inc., prays for the following relief:

       A. Entry of an order certifying this action as a class action.

       B. Entry of an order for declaratory judgment and injunctive relief finding

            the foregoing conduct of Defendant to be unlawful, enjoining Defendant

            from continuing to engage in such conduct, and granting additional

            equitable relief as may be appropriate, including ordering Defendant to

            disgorge all ill-gotten and illegally obtained sums collected as a result of

            its unlawful conduct.

       C. Judgment for actual damages.

       D. Judgment for punitive damages.

       E. Judgment for statutory damages.

       F. Judgment for treble damages.

       G. Judgment for reasonable attorneys' fees.

       H. Judgment for all costs incurred

       I.   All other relief deemed just and proper.

                                            Respectfully submitted:

                                            SANDRA CARTER, Plaintiff
                                            On behalf of herself and other
                                            similarly-situated consumers

                                     By:    /s/ Tim Cullen
                                            Tim Cullen, Ark. Bar No. 97062
                                            CULLEN & CO., PLLC
                                            P.O. Box 3255
                                            Little Rock, AR 72203
                                            Phone: (501) 370-4800


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                                    Fax: (501) 370-9198
                                    Email: tim@cullenandcompany.com




   Exhibit 1   Stormy Point Contract

   Exhibit 2   May 18, 2015 Collection Letter

   Exhibit 3   December 23, 2015 Letter from Meridian

   Exhibit 4   Assessment Billing and Collection Policy




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                                                                                                                                                ELECTRONICALLY FILED
                                                    STORMY POINT VILLAGE-PHASE Ill                                                                     Pulaski County C1rcu1t Court
                                          INTERVAL OWNERSHIP CONTRACT AND INSTALLMENT NOTE                                                           Larry Crane. Circu1VCounty Clerk
                                                            Contract #48369                                                                          2016-Apr-05          11 :16:44
            THIS AGREEMENT Is executed al Branson. Missouri, on this January 5, 2010 by and between VPG P~ RTNERS V6CleY-16-1941
    a Missouri limited liability company, whose address Is 3179 N. Gretna Road, Branson, Miosourl, 65616, hereinafter releretJ~l:JV5 · 3 Pages
    "SELLER," and the buyer(s) sel forth below, hereinafter referred to collec!lvely as "BUYER."                                     ·




  I::;~{;~~~~] =~t~~~f;:~n ~ ~~Tl•
                                                                         W 1TN ES S ET H:
              SELLER does hereby agree to sell, and BUYER agrees to purchase, for the purchase price of$             8,900.00. together with
    the Interest and closing costs as hereinafter provided, lhe followlng described Unit We&k(s) (the "Unit Week") In Stormy Point Village-·
    Phase Ill, Stone Cou11ty, Missouri, pursuant to that DeclaraUon of Covenan1& and Restrictions for Stormy Point Village--Pha•e Ill (the
    "Declaration of Covenants and Restrictions") and plat which will be or have been filed or record In Stone County, Missouri, subject to all
    terms, conditions and provisions contained In the Declerellon of Covenants and Restrictions and all modlficallons and amendments
    there10, which have been or shall subsequently be flied of record and which shall apply to said property and govern lhe usage rights
    related to same. upon the following terms and conditions. BUYER agrees to either pay cash for the purchase described herein or
    agrees lo finance said purchase pursuant to the provisions of the below referenced Installment note.
                                ~I       Stormy Point VIiiage-Phase HI, Stone County, Minourl
                     Unit No.:I '-' Week No. S Season: Yoflow    Flnlt Year Use: 2013      Usage Type: Trlennlsl-C
   The usage rights, terms, condition~. and boundaries o( which are further defined In the Declaration of Covenants and Restrictions
   applicable lherero.
   1. INSTALLMENT NOTE. For value received, BUYER(S), joln!ly and severally. promise to pay to the order ofVPG PARTNERS VI,
   LlC, or lls successors or assigns, the sum of $8010.00. together with interest at the annual rate of 15.9~•• payable over 84
   Installments al $             158.64 per month, beginning /luguot 15, 2010, and on the same day of each successive payment period
   !hereafter unlll the whole amount is fully paid, Payments are applied first to late fee6 and expenses, then lo interest, then to reduce the
   principal balance due. Interest will begin to accrue one (1) payment period before lhe flrst Installment is due but, in no event, prior lo
   the date of this Agreement. All provisions contained herein shall survive the execution and delivery of lhB applicable Warranty Deed.
   This Note is given for 1he purchase of the Unit Week(s) described above. SELLER shall retain tilla to the subjecl property as security
   for 1he unpaid balance of the purchase price and, at such point tn time, will dMd !Ille to BUYER. This Note Is a purchase money note
   subject lo the provi•ion• of Missouri law.
! Purcha~e.   P1 kc                                                 S,900.CO        4. Initial Down rftymenl                                     s             JOO.OD
                                                                                    S. Addltlonnt Down Payment d11e by      71~110               $           1,024.00
                                                                                    6. Equity f10in upgrade of:                                  s               0.!111
                                                                                        Unll , Season, Usage
J _ l:nmlhnent   fee                                                  434.00           Un11, Scoson, UsAgc
                                                                                    7. Total CrMllS (Suin of 11.,ns 4, S ond 6)                              J,J24.llll
l 'I utnl /\nio11nt Due (811111 of Items I and 2)        S          ~.JJ4.00        8. Total Unp1ld Bftlance (ltcin J minus Item 7)              $           8,0 IQ.00
          The following Is BUYER'S "Truth-in-Lending Disclosure Statement. / "VPG PARTNERS VI, LLC is the "Creditor."


         ANNUAL                             FINANCE                      Amount                       Total of                  Total Sales
         PERCENTAGE                         CHARGE                       Financed                     Payments                  Price
         RATE                               The dollar amounl the        The amount of credll         The amount you will       The total co•t or
         Tho cos! of your crodlt            crodlt will co•t you.        provided you or on           have paid after you       your purchau on
         al a yoarly rale.                                               your behalf.                 have made                 credtt Including your
                                                                                                      paymenls u                down payment of
                                                                                                      scheduled.                          890.00
                      15.9%                         5,315.60             8010.00                               13,325.60    I           13,325.60
                                                                                                                            I                 ---
      Your payment schedule will be:
            r--·-~;b;,; ,;f7,~                               Amount of   Paym(;n~---·r---·      _....... -   Wh~n Payments;~~ Due        -------,

           L_                   64 _         ___J                        158.64                     Monthly, beginning Aucu111~. 2010
      SECURITY:         You <'Ire giving a aecurily Interest In the Property being purchased.-
      LAIE FEES & COLLECTION FEES: If any payment or part of a payment Is not paid within ten (10} days alter It I& due, you wlll be
      assessed a late fee of $25.00, plus the costs Incurred by us In connection with checks that are returned dua lo Insufficient funds.
      PREPAYMENT: If you pay off early, you will not have to pay a penally.
      "n/a" means "not applicable": "e" means "estlma~a."
      BUYER(S) should refer to the remaining provisions of this 'Interval Owner~hlp Conlrac.1 end Installment No1e• es contained on the
      following pages hereof for add1llonal Information about non-payment, defaull, any required repayment in !ult before 1he $cheduled
      date. and pre.payrnen1 refunds and penalties.
     The interest rate applicable to your purchase may have been set based upon your partlctpallon In our aulomaflc debit program. If
     you choose lo participate In !his program but subsequently cancel or terminate your particlpallon in this program, 1hen we will
     increaso Jhe Interest rate applicable to your purchase by 2%. This inlerest rate adjustment will Increase your monlhly payments. We
     will provide you with the amount of your new payment at your requl!st or when such an adjustment occurs.

                                                          ITEMIZATION OF THE AMOUNT FINANCED:
      ____ . _ _ ___       .. __ .     ---~1 ~1_!1,!l_Q__ __ ~:i!'!Unt of Cl_C!_~i!_~idod lo yo11 or ~1od1ted lo yourn~count, _ _ _ _ _ _ _ _
  Tl llS AGHE:t:MENT tu subject to the terms an<I conditions set for1h on the following pages, which by reference are made a part horeof.
  l'<oce1pl of a complelP-d copy of this Agreement is hereby acknowledged by BUYER(S) prior to the execu1lon of this Agreement. The
  provisions ot ihls Agreomenl shall s11rviv" !he delivery of lhal warranty doed reforencod hoH>inafler and shall contin1Jtl In lull force end
  clfect until 1111 fina 'al obligal!nng of OUYEH as sol forth horeln hav" been paid in full. IN WITNESS WHEREOF, Ille parties hereto oet
  !heir respecllv       n s and se Is on the               n year flrsl above wrillen.
  BUYER(S): _                                                                SELLER: VPG P.

                                                                             By:_._,..,;:._.pll.-=:.~~~~~~~~~--~~~~­
                                                                                 Aulh · od Representative of Soller
                                                                             Dat.. d: January 5, 2010
  WV-Con<r•ct Agreement & lnsrnllmcnt No" 12·6·2008                                                                 Cont,.ct U~8)69
      Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 20 of 39


     2.    ASSOCIATION MEMBERSHIP; MAINTENANGE FEES A&                    a resull of BUYER'S purchase of lhe Unit Week, BUYER shall oulomatlcally become a
     member of lhe Slormy Polnl V1lleg,,_phase Ill Property Ownors Assocwlion (th~ "A•soclot1on"J, and fllJYER sh;ill "'' re5p<>11siblo "' a U111! We"~
     Purchasi:tt tor BUYER'S share o! common expenseil, speaal and regular 8.:>)e~~rnnnlr.. the mtun1cnanec fr:o. arid any And al/ 0H1e1 1..•xpen'5V$ rncutred in
     Che operation of the A~soclallon. The Aasocl1tlon shaN bft respoos1blo for the malnttmnnca and upkeop of lhP c.omrrwn areag. Iha\ peJl;un 10 the ,ub1cd
     property and has entered Into a man19emant agreement wtth SELLER, qr nn ~tll!1ate of SELLER, undor which omd mamtcnaf'ce <1nd upke~p i$ to be
     performed. The lnlllel annual maintenance fee, whlcn shall include BUYt:trs portion er lh• common expcnsns. shall be $       469 00 per Unit Week
     purchased by BUYER ha1eundor, which r... shill bo remitlod lo the AssociaUon or its dOilgnoted 09ent, however, If BUYER sh•ll ullllze BUYER'S uni!
     Week prior lo •M<J d.110 or borrow ruturo usago or any Unit Week, lhe maintenance fee for th• Unk Week shall be payablo contemporaneously wllh \ho
     usage bt>oklng and in ad"""'" of wch uso Tho malnterianoo fee, which shall be subject lo change. based on Unit Week lype, sh~ll be en obligation
     thlill is p111yao1e by BUYFH 1n :tdrlJt1on to thu purchase pries or payment sal forth :11bove.
    J. FLEX TIME USAGE. The rights ol BUYER lo use, occupy, and possess BUYER'S Unit Week ore subject lo \he terms and conditions of those
    rnimdatory nextb1e lime usage role a. that a,e conlalned In the Deciaral1011 of Covananls and Reslrictkm, 1 ~'modified, amended and supp!amttnlcd from
    lime to time (colloelively, lho "Flex Time Usage Rules"). BUYER acknowledge5 lhat BUYER under•l•nds the Flex Time Usago Rules and recognizes
    \hat SELLER resorvos lhe rlghl lo modify or amend lho Flox Tlmo Usage Rul•• undor clrcumslAnce• de•crib•d therein   Among olher lhrnga, SELLER
    understands that occommodalions u9Bg• Sholl only occur on • "tirst-requesled, fitsl-connrmed" ~•sis and pursuanl lo !hose reservations rule• 1ha1
    SELLER has adopted and may modify from time to lime.
    4.     UNIT Wl.OEK. Ur"I Week No 1 IS·lfle i.even (7) day• commoncmg on tho firsl Sunday in &•oh year Unll Weak No, 2 I• 1he seven (7) days
     nvccccd1ng AJd,r/oool wcob "P lo >n<f •ncl·Jd1nu Unil Wee• No 51 am computed In i! like manner. Uni! Week No. 52 contain• the seven (7) days
    succeeding Unit Week No 51 plu• nny excou doys not olJ,orwi•e •••i9ned and without ro9a1d lo lho month or year BUYER'S Un~ Week shall run
    from four o'clock (~:00) pm on the fir<I ~unday therco1 lo fo"' o'cluck (4:00) pm on lhc last Sunday thereof provided, however, BUYER does hereby
    n91•e to relinquish occupancy for the lost •i• (6) hour period of hL& Uort Wcok (from Ian o'clock (10'00) a.m. until four o'clock (4.00) p.m. on Sunday to
    ,111ow for cloan1rig. rnpalr!l. mainterumce, and any other preparation r)C-Cdtd to1 tlit• occup;:mcy of lhe next Unit We~k B\ennla1 Unll Weeks shall be used
    1n 010~1u ycM~ tdonWm.t on lht:" first fl!&Ut' horoot nrid sut;jacl to t!H) u~a9e rules sod regulatlon!!t set for1h in lhe Odclafallon of Cov~nant& and
    h\~s:!ric.tloiis r11tt Duv-0/opur fesaNei. Uio t~h1 10 lhu Oech"HHliun to uuil.aterally chango lhe days of week upon which c8rta!n Uni\ Weeks start 4knd
    liHrThnult' 111 <HdO( to l::lctlrluto malnlonance ood hmJsekeoping efforts to week.! lh~t run Friday-tc-Fnd•y, Saturday-to-Salurday. or Sunda~~fo-Sund•y
    Unr1 Wct:'k Pwchaser:.> st1,11ll Le Informed ot any such change!. al the r1nw tt1dl atcormnod.al!ons 1eaervat1ons are rsquested.
    5.     CONSTRUCTION OF lJNllS. BUYER un<lerstand~ •nd ack110\\'l<dgc. ll1al comµlellon ol conshucticm ol 1ho •nprov~rncnt on lhal real prop My Ina!
    IS the subject or thl:s Agronm1.rnt may not yet h~vo or.:curr~d. GELLER agreds, s.uti1ee1 to lho provisions of lhi~ Agreement and excep1Jng delays causll!!ld
    Vy slrl1<ee, lnabllily to oblaln l~bor or malerlal, governmental res1ncl1on, onomy acllon. civil cornmot1011, r110, acts of God, and delays c•u•ed by conditions
    beyond SELLER'S conlrol, lo vsc ii' bosl offorls lo compl•1• conol1uclion of and oblain a Cerlilicole ol Occupancy for lho Unil do•crrbed herein within
    one { 1) year from the dato of this Agreement In any ell<lnl, SELLER agrees 10 comp:ele Iha Unit descnbed Qbove wilhin two (2) yaors from the date of
    lhls Agreomenl.
    6. CLOSING AND TITLE. T1Ue to th• subject Unit Week shall be mtoinod by SELLER as socll•ily ond collaletal for tho pcrformonce ol IJUYER'~
   linanclal obligation~ set forth herein. Upon BUYER'S fulflllmenl of all such flnMcial o!Jllgalicns, SELLCI~ shall dehvor o< cause 10 be deliv~r~d a spec1a1
   warranty dead lo BUVE'R thol w11l vest In BUYER trtle to the "Jhjcct IJnll Week subiad lo lho Daclarauon of Covcnnnls nnd R••lncllons, p!al, and oil
   olher metlers ol record Unlit remedied In full, SELLER reserves Iha 1ighl to wllhho!d delive')' or the subject doed should BUYER be delinquent In lhfl
   p~yment ol Atsociufo:ln rna;ntammce feo1; end dues, n:s. :such payment obHgall-Ons 3re !UJl for1h ln lhe Oeclar;r.tlon ol CovPn.;:uit5 and Reslricho1u Thl"
   INms OM C-Ondll!Ons ol lhi:; Agre,emenl Rh all survive the delivery ol lillc i-0 !he property described herein
   7. DEFAULT. All payments shall be made on or ba(ore lhe due dal" to SEUER In Br•nson, Missouri, or el such olher place and lo such authorized
   agent as SELLER moy do•igna\o II BUYEI'\ shall bo In dofavn Tor a poriod of thlny (30) dayo In tho paymonl of any pe1lodoc ln•lolln1011l (lorty-five (•5)
   days 11 BUYEk t1as paid more tnan fifty porcenl (~0%) of !tie principal amount owed ho1eundo1}, SELLER may, at lis option: (1) terminate tllis l\grecment
   b~· moiling to [lUYER nohce of il~ intention to do iO (md<.1ding tn Sf1kf noUcti Hw amounl lho-n due under tho Agrnamer11 nnd thD oxp1rntion o1 lhe gtacc
   perlOd), senr by rcqislr.rod or ce~llied molt II, within lhlrty (30) day& a«or SELLE fl so n1ails such notice, llUYER doos not pay In lull n111nsta!lmenl• !hon
   •n d"laull (a) all ngbts of BUYER hereundor in and lo 1ho Un1I WooK(t) descr1bed In this /\g1ccmc111, inclucl1n9 all reservation rights, sholt ccaso Md
   tetminale, and lb) all µaym•nls made on a~ounl or the purchase price including lnrerest, may be rol••n~d by SELLER as llquidalod damages f01
  l>1cach o( lh1s Agreement, or (2) doclare lho enhre rnrna1riin9 t.Jttµl'ttd ba\uPCO of tho purcha&a pnce, plus accrued intorast lhllrflon, du~ and payable and
  pursue an oilier rtgnts and remedms av•llablc to SELLER either or law or In equity Failure lo oxorclso any opHon shall not constllule a W•iver of lhe
  rlghl to exercloe come In the event defautt •haH continue or 1gain occur. In tho ovcnl lh» Agre<:ml)nl I> rocordod and UUY[f( is m dofaull, BUYEH
  specifically authorizes SELLER lo file a Certlncate of DefauH In !he Record•<'• Olflco tor Sione County, Mls~our;, tl>ercby l•nnln•llng all of BUYER'S
  righl. lrlle, and lnterosl to tho property, which notice may be relied upon by nil •ubsequenl pmchasef!. It any pnym~nf duo horeunder is nol p•ld within
  len (10) days eher II ls due, BUYER agrea• to be ssse$sed and to pay a late loo cf $25 00, plus any depooilory lnslitulio11 charge on all 1elurned checks
  S.  BUYER'S ACKNOWLEDGEMENTS. BUYER ACKNOWLEDGES THAT A COPY OF THE DECL.ARATION OF COVENANTS ANO
  RESTRICTIONS AND 8YL.AWS OF ntE ASSOCIATION ARE IN THE OFFICE OF SELLER FOR INSPECTION. BUYER, BY HIS EXECUTION OF
  THIS AGREEMENT, DOES REPRESENT THAT HE IS OF LEGAL AGE AND THAT HE HAS RECEIVED A COPY OF THIS AGREEMENT AND
  UNOERSTANDS ITS CONDITIONS. BUYER HAS FURTHER AGREED THAT THIS UNIT WILL NOT BE USED AS HIS PRINCIPAL RESIDENCE.
  BUYER DOES FURTHER ACKNOWLEDGE, AGREE, AND WARRANT THAT THE PURCHASE OF THIS UNIT WEEK IS MADE FOR HIS PERSONAL
  USE ANO THAT THERE HAVE BEEN NO REPRESENTATIONS CONCERNING RENTALS, RENT, RESALE, RETURNS, TAX ADVANTAGES,
  OEPHECIATION OR INVESTMENT POTENTIAL, OR O'ftHoR MONF.TARY OR FINANCIAL ADVANTAGES AND THAT NONE OF SUCH THINGS
  HAVE BEEN REPRESEN/F'D TO HIM BY SELLER, ITS AGENl S, FMPLOYEES, OR ASSOCIATES. BUYER COVENANTS AND AGREES TO SE
  BOUND BY l HE PROVISIONS Of THIS AGREEMENT AND ALL DOCUMENTS REFERENCED HEREIN.
 9,     MODIFICATIONS AND CHANGES'. SELLER 1oserves lhe rlghl to moko changes ln t~o Doclarallon or Covenants and Reslricllons and As•ocr•llon
 Oylaw~ tor the purpC)so of c.orrectlng e<rons In tho pmparntion Bnd filing of Rll dOC1Jmonts rel<Jtlng to 010 s-ubJect propnrty and pursuant to those
 omendmonl ngt\ls o!horwis~ rssarved lo SELLER !heroin. In ad~illon, SELLER may add ~d<lltlonul propertl~s and Uni! Weoko to tho subY,ct project hy
 r1rmr1 appmprillO pl3ts nnrf JJmortdr"ontn t('l rofloc::t tho oddit!o11a{ propartf.fls As nrldrtkmtil proportiec ara added. aach UnJt WcrnJ< P1m:t1auoJ"s ~w1cunbg~i
 ol ownwshif) In lhe common elements ena common •urpiu•. ~• donnc<J in \ho Doclarnllon of Govonants aml ReMnr.llon•,,. subjoet to ctiange.
 10. EXCHANGE PROGRAM. SELLER hes entered Into an agreement with o 1hird-por1y exchange company (lhc "Exchange Compooy") under w~1ch
 BUYER may temporarily exchange hi• •ccommodatlon rrgh~ end uuge horevndor for ae<:ommodat!on< usoge el offillaled resorts in the Uniled Slates
 end around lhe world. BUYER'S right lo acoess thfs exchange opportunlly '" vohJnlory and is subjeci to BUYER'S payment of rrwmber.hip and u••g•
 tees lo tho Exchonge Compony, SELL!;R mako11 no reprasant•lions e<incemlng !ho cvrronl or fulurc •bil1ly of tho Exchange Comrany to timely
 perform, os represented In lh<> Exchange Comp•ny's lltoralure, or as to lhe avallnbil!ly or qunlity of F.xchango Compa11y accommodohons.
 11. TIME IS OF THE ESSE:NCE. Time la of the essence In connecllon with BUYER'S performance al II• nnancl•I ond olher obllg•l/ons hereunder.
 12, SURVIVAL OF AGREEMENT; ASSIGNMENT, This Agreement shall be bindinsi upon 1nd inur& lo tho bonortt of tho portlo• hereto ind their
 1especilYe heirs, successors, •nd assigns; and !he provisions of this Agreement ;hall SUIVlve tho delivery of• deed to BUYER, SELLER ahall have the
right lo a••lgn this Agreement lo •nY lhlrd party et any lime •bsanl tho consent or BUYER, •nd BUYER agrees lo be bound by any ouch nsignmant lo
the ;ame oxtenl as BUYER would otherwise be bound lo SELLER. Thi• Agreement will supersedo 1ny •nd all understandings and agreemenls
between lhe parties herelo, ond It ls muluelly understood and agraed that fhl• Agreement represenls the entire Agreoment between lhe parties hereto
and thaf no ropresenlallons or lndvcemenls prior horelo, which are not Included In and embodied In this Agreement, •hall be of any force •nd eff•cl and
that !his Agreemenl may only be amended or modified by an Instrument. In wrlHng, belween the parties.
13. SEVERABlLtTY; CHOICE OF LAWS, The term• and condition$ of thl• .-,911omont ere hereby agreed to be Independent and soverable •nd, In the
event that eny provision heraof shall be deemed Invalid or unenforceable, then ii is agreed lhat such determlnallon shall not otheiwlse damage or disturb
lh~ onforcHblllly or tho rema;nlng proYl•lons ol this Agrnemont. Thi! Aproemonl shall be con.trued sololy in accord•nco WLlh lho lawa of tho Slala of
Missouri
 14. MANDATORY ARBITRATION. SELLER and BUYER both agree that, "~""Pl for actron• to collacl sums due hereunder. any and all dispules and
controvefsle.s that might erl:se out of the interpretalion or enforcemenl of this. Agr~ern1.1111 sht1ll be resolved exclusively lhJOugh mandatory arbhrerion
adminls1e1ed by and under the rules       or
                                          the Beller Business B~reau or Sou1hwe1t, Missouri, and that any declilon rendered through such orbltralion •ho!
have the 1am11 force .ind eHecl &$a t1ne1 Judgment and/or decree. Should lhe Beller Bu!linees Bureau cemse operallons or refuse partic1patlon, lhen all
arbitrations heroundor shill be administered by lhe Amerlcen Arbllrot;on Association pursuant lo tts eppllceble rule5 and rogulatlons. BUYER ag1ees
lhal lhis provision ohall preclude BUYER'S use of lll1ga1ion as o moans of resolving any dispute herounder. With re901d lo any action !hat SELLER or rts
assigns might bring against BUYER lo collect any sums evldoncod hereby or due hereunder, SELLER, or 111 assigns, re•ervos !he right lo pursue •uch
actions through e1thor mandatory arbttratlon or lrad11/onal l~igalion In a court or compelent junsd1ctlon in Stone County, Missouri, •• SELLER might
decide end deletmlno in its sole disc-retion




Sl'V~COl\lne1.   J'rlgreemcnt & lnsll\Hmcnt Note 12·6-2QQg                                                                                    Conlract #48369
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 15, UPGRADES; REVISIONS: Should BUYER over upgrade, transfer, or exchenge BUYER'S ownerehlp In tho sub)ea Unrt Week for 1nolhor Unit
 Week, BUYER •grees to execute any •nd •II document• that SELLER ma·1 requl1e m order to accomplish said goal lfotwllhetendmg the oxocutlon of
 such dooumenlo, this Agreomont shell continue In full force ond affect end continue to be binding upon BUYER until all r~scisslon period• usoCJatad
wrlll such lransacllon pass and until SELLER otherwise expressly lelllllnales lhl~ Agreement In writing.
16. FIRST RIGHT OF RESALE REFUSAL. Snould BUYER desire to resell or othaiwlse convey BUYER'S Unit Week to any third party, BUYER shall
 flret offer the Unit Weok to SELLER 11 a price and purouanl to thon terms that BUYER otherwise proposes to sell said Unll Week to ••Kl third pally.
 BUYER shall notify SELLER ol such ••le, In writing, and shell Include all thlrd·porty sale ond purchase egreements. Upon receipt, SELLER •h•ll havo a
thirty (30) day period of tlmo In which lo review end oc;eopl er reject SELLER'S purchaee right u resorvod heroin. Should SELLER desire to oxerc1se II•
right to purchase as reserved hereunder, SELLER •hall set e closing dal< !hit will net be more lhan tony-live (45) days af1er the d•le upon which
SELLER r1colved nollco or the pending sale. Any purpor1ed transfer• by BUYER that do nol comply with the exprose pro~lsiona of this porogroph ~hall
be deemed nol enforceable. and lhe Association will net recegnl~e U1e purported traneferee es an owner. and said party shall not have !ho rl\ihl le
reserve 1ccommodotions ueogo. The provielons of this puagroph aro oxpr..oly Intended to survive tho closing ind d9llvory of dead 1nd •h•ll bo
binding upon BUYER end BUYER'S successors and assigns.
17. COLLATERAi, PACKAGE. Should BUYER properly c1mcel this Agreement during the rescission period referenced, •nd should BUYER return to
SELLER •II collateral meterl~I that wu cellvered to BUYER by SELLER during ouch period, then SELLER shall rofund to BUYER all down payment and
other funds paid by BUYER at the time of the eKecullon of this Agreement. Should, however, BUYER rail to return lo SELLER all such coll1leral
materials during the roeclsslon period, then SELLER •hall hive th• right to reteln thal enrollmonl roe ldentlned on lhe nrst p1ga hereof•• rolmburaemenl
for lhe costs or the production of such collaleral materials
1a MAINTENANCE FEE DEF AUL r. BUYER hertby grants to the Assoclatlon'a board of directors the BUYER's llmlted power er attorney, couplea wllh
an interest, lhal eulhorlzes and empowero the Aesocl1tlon, when and it tho BUYER falls to pay when due those As1e1omenls •nd/or Ma1ntenanco F•o•
due hereunder, wilh the right lo file ot record a qullclalm deed pursuant to which \he Unit Owne(S Interest In and to the BUYER '1 Unit Week shall be
deodod back to tho AISoclollon In lieu of the Auociallon's filing of• foreclosure action against the BUYER.
19. No PETS. BUYER Is expro .. 1y prohlblt.od from bringing or housing any pot• wllh him durir.g hi• Unit Week or at any other time during which
BUYER may visit or be housed at the subiect resort.
zo. MISCELLANEOUS. TM captions used In this Agreement 11e for lnfomielion•t purpoa&s only. BUYER Is strongly advised lo road carofully each
end every paragraph of lhls Agreement, •nd not merely the ceptlons alono In executing lhia Agreem•nl, BUYER acknowledge• receiving• copy of that
Trulh·ln·Lending Disclosure Statement contained on the Orsi page hereof Iha! has been completely filled 1n. Receipt of a fully completed copy of this
Agreement is hereby ac:l<nowledgad



fJUYER(S):                                                            SELLER: VPG PARTNERS VI, LLC


                                                                      By: __   /lLQ_~tL, _____________ _
                                                                          Authorized Representative of Seller
                                                                      Dat11d: January 6, 2010




                                                               ACKNOWLEDGMENT
STATE OF MISSOURI
COUNTY OF TANEY
         I HEREBY CERTIFY that on this day before me, the und')ffo'.9.npd Nolpry~Pub!ic, duly commissioned, qualified, and acUng
within and for said County and Slate, personally appeared           ll~~=-=-----· authorized representallve
of VPG PARTNERS VI, LLC, to me well known to be the person d~scribed in and who executed the foregoing Contracl for the
purposes therein expressed as the act and deed of said Corporation.
        IN WITNESS WHEREOF, t have hereunto set                     my   hand and affixed my official seal In said County and State this
January 5, 2010



                                 DONALD LUPER
                            Notarv P11bl1c. f'.olary Seal


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                      My Comrnl•slon Explrts: Matcll M. 2012
(SEAL)               ·---~21nrr:wq1,1.'~!!'!Y!r.' 08492~.
                                                                                My Commission Expires:           :;t_ 'Z~t"Z-- ___ ·-·-------
                                                               ACKNOWLEDGMENT
STATE OF MISSOURI
COUNTY OF TANEY
         On lhls January 5, 2010, before me, the undar~lgned Notary Pu bile, duly commissioned, qualified, end acting wlihln and
for said County and Slate, appeared in person Sandra CarteJ~R9Jl.ll.!1.Ji,_Carter, and stated that they had executed the foregoing
Contract for the consideration and purposes 1hereln mentioned and set forth, and I do hereby so certify.
        IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official seal In said County and State this
January 5, 2010




(SEAL)                                                                         Ooim ~--
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                                                                               My Commls•lon Expires: _ _ _    -_z. "r L-
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                           Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 22 of 39
    MERIDIAN FINANCIAL SERVICES, INC
    P.O. BOX 1410
    ASHEVILLE, NC 28802-1410




                                                                                      May 18, 2015

                                                                                      Your Account with:
        1
            l11•11••1•'••1•11 11•1111•11111h1 1I1I11•1 'h ·• 1• 1t •1III1 1
                            111               111 1                                   STORMY POINT VILLAGE - PHASE I
        SOA.000918                                                                    ACCT#:           SPV-151-03-TC
        Sandra Carter                                                                 ACCT. MGR:       A. PLYLER
        14104 Smalling Rd                                                             TELEPHONE:       800-849-1236 X6709
        N Little Rock AR 72118-1580
                                                                                      TOTAL DUE:       $1364.72
                                                                                                       In U.S. Dollars




Notice - - - - This account has been assigned to our agency for collections.
*************
Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any
portion thereof, this office will assume this debt is valid. If you notify this office in writing within 30 days from
receiving this notice that you dispute the validity of this debt or any portion thereof, this office will obtain verification
of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. If you request this
office in writing within 30 days after receiving this notice this office will provide you with the name and address of the
original creditor, if different from the current creditor.
                             Office hours: Mon - Thurs 9 AM - 11 PM EST; Fri 8:30 AM - 8:30 PM EST; Sat 8:30 - 2 PM EST


                       ***THERE WILL BE A $25.00 SERVICE CHARGE FOR ALL CHECKS RETURNED UNPAID***
                           TO MAKE PAYMENT ONLINE, PLEASE VISIT US AT: www.pay-meridian.com




This is an attempt to collect a debt.                                             This communication is from a debt collector.
Any information obtained will be used for that purpose.

                                                  PLEASE ENCLOSE THIS PORTION WITH YOUR PAYMENT

    B81938-101428                                                             STORMY POINT VILLAGE - PHASE I
    MERIDIAN FINANCIAL SERVICES, INC                                          ACCT#:     SPV-151-03-TC
    P.O. BOX 1410                                                             TOTAL DUE: $1364.72
    ASHEVILLE, NC 28802-1410
                                                                              All amounts are shown in U.S. funds.


    Sandra         Carter
    14104 Smalling Rd
    N Little Rock AR 72118-1580


    SPV-151-03-TC                 50                                                  MERIDIAN FINANCIAL SERVICES, INC
                                                                                      P.O. BOX 1410
                                                                                      ASHEVILLE, NC 28802-1410




                                         - · • PLEASE WRITE ACCOUNT NUMBER ON CHECK ......... .
    .               Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 23 of 39

         MERIDIAN
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                  •~~g~IVABLES     RECOVERY
                                                                                                               ELECTRONICALLY FILED
                                                                                                                   Pulaski County Circuit Court
                                                                                                                 Larry Crane, Circuit/County Clerk
         f manc1a   services
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                                   EXPERTS                                                                       2016-Apr-05 11 ·16:44
                                                                                                                    60CV-16-1941
                                                                                                                   C06D05 : 1 Page

            December 23, 2015


            Tim Cullen, Esq.
            Cullen & Co., PLLC
            P.O. Box 3255
            Little Rock, AR 72203

            FOR: Sandra Carter

            RE:      Client: Stormy Point Village                                    Account#: SPV-151-03-TC
                     Meridian Account #:B8 l 93 8                                    Amount Due: $1,364.72

            Dear Mr. Cullen:

            We are a professional collection agency. Tills Is an attempt to collect a debt by a debt collector and any
            information obtained will be used/or that purpose.

            Thank you for the opportunity to respond to the concerns expressed by Ms. Carter. Meridian Financial Services, Inc.
            received Ms. Carter's account from our client, Stormy Point Village Phase II Property Owners Association, Inc., on
            July 25, 2013, for past due 2013 Maintenance Fees. On May 15, 2015 we received an additional balance update for
            2014-2015 Maintenance Fees as she is the owner ofa "Tri-Annual" (Tri-C) timeshare interest. Tri-annual ownership
            means that the owner has access to one usage week, every third calendar year.

            Upon researching Ms. Carter's claims I was informed by our client that its Board of Directors believed it to be in the
            best interest of all owners to prorate assessments to assist in off-setting annual costs. Beginning in 2012, all Tri-C
            Owners had an adjusted assessment due representing 1/3rd of the full assessments that would be due for the next full
            year of usage (2016). The balances that were forwarded to Meridian in 2015 were part of this assessment. Per the
            attached letters from our client's President and Board of Directors, Ms. Carter was informed of this change in
            procedure in 2010, 2012, and 2014.

            Regarding the assessment of additional collection fees, please note that the same Board of Directors has adopted the
            attached "Assessment Billing and Collection Policy" that provides for assessment of collection fees.

            The balance on the account as of today's date is $1,364.72. At this time we are able to offer Ms. Carter a settlement
            in the amount of $1,023.54 representing outstanding maintenance fees. Also, as a gesture of good faith, once the
            amount is paid in full we will remove the items from Ms. Carter's credit report.

            Payments can be made over the phone via check or debit/credit card, online, or through the mail. Should you have
            additional questions, I can be contacted at (828) 575-9564 ext. 6707.




                                       N.C. Department oflnsurance Permit #101651




1636 Hendersonville Road Suite 135 Asheville, NC 28803 •P.O. Box 1410 •Asheville, NC 28802 •Phone: 828-575-95641800-849-1236 •Fax: 828-575-9570
                                                             NC Permit# 101651
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                                                                                                                 Pulaski County C1rcu1t Court
                                                                                                                     Crane, C1rcu1t/County Clerk

                                              Assessment Billing and Collection Policy                        2016-Apr-05 11 :16:44
                                                                                                                                   60CV-16-1941
The following is the Assessment Hilling and Collection policy adopted by your board of directors.                                 C06005 : 1 Page
NOTE: "Assessments" means that amount determined by the board of directors as an Association member's fair share of the resort operating and
reserve costs in any given year. Assessments also means any personal charges as defined in the Association's declaration which remain unpaid for at
least 30 days.

Billing Date: In late October or early November of each year you will be mailed a statement for the next year's assessment. Payment is due January I
and delinquent January 31.
             NOTE: At the time of check-in or before the association will confirm your week for exchange purposes, you must pay the entire use
             year's assessment in full.

Due Date: You must remit payment by January 3 I or your account becomes delinquent.
Late Fee: If payment     1s   not made by January 31, a late foe of 15% will he added to youraccount.

Delinquency: If your account becomes delinquent, your reservation privileges and your right to vote in any Association election are suspended. Any
reservations in your name, whether confirmed or not, will be canceled. Your reservation privileges and your right to vote will be restored upon payment
in full of your account balance.
If your account remains delinquent for thirty (30) days, on March I a $135.00 collection fee may be added to your account.
On March I a final assessment notice including all penalties, fees, and interest, to date will be sent by certified mail, return receipt requested. You must pay
all charges in full to have your occupancy privilege and voting rights reinstated. Open Use Weeks resulting from delinquency become available for use
by the Association or others requesting space at the resort. Consequently, there is no guarantee you will receive a confirmed reservation or exchange
after you have brought your account current.
In March, the board of directors may, at its discretion, submit delinquent accounts to an attorney for fonnal notification of default and demand for
payment which may result in foreclosure and loss of ownership. In that event, a $100.00 legal fee will be added to your delinquent account balance.
With respect to delinquent accounts, the board of directors may, at its discretion, request any or all of the following actions. Cost of each action, as
shown, will be added to the delinquent m.:count:
     I.      Engagement of a professional collection agency (Fees may be as much as 40% of the delinquent account balance and will be assessed by the
             collect10n agency)
     2.      Pre-notification and subsequent recording of an assessment lien ($100.00)
     3.      Foreclosure of an assessment lien (Fees and costs legally permitted)
     4.      Filing of a small claims suit or other legal action ($150.00)
This statement is provided as a courtesy to assist you in making your yearly maintenance fee payment. Non receipt of a statement does not relieve you
of your financial obligation.
NOTE: Your account will be assessed $50.00 for any payment not honored. If a payment is not honored for any reason, restitution (including all
relevant charges) must be made by secured funds - cash, postal money order, or cashier's check.



                                                       USE FORM
                                     PLEASE INDICATE YOUR INTENDED USE TIME PLANS

          We have already booked our time for 2015                                We have NOT already booked our time for 2015

                                                                                    Float Week Ovmers: Please reserve one of the following weeks for us:
Remember: Reservations are NOT valid until they                                    I s·i Choice:
          are confirmed in writing                                                 zND Choice:
                                                                                   3RD Choice:
All owners please complete the following information:
_ _ Personal Use: We intend to use our week at the Stormy Point Village Resort.
_ _Guest Use: We intend to let our guest use our week at the Stormy Point Village Resort:
      Guest name( s)                                                                                      Phone#

Use Year Annual Assessments must be paid in full in order to deposit your week.
_ _ Bank/Exchange: We would like to deposit our week with DTrading Places DI!, Member No. _ _                           ____________ _
    __ Premier Access into the Summerwinds Family of Resorts: Please contact us to schedule a reservation at one of the select Family of Resorts

E-mail:                                                                            Phone#:

Signature:                                                                                      Date:
Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 25 of 39




          EXHIBIT ''A-3''
             Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 26 of 39


                      IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                         HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT

                       SANDRA CARTER V MERIDIAN FINANCIAL SERVICS, INC

                                             60CV-16-1941

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

MERIDIAN FINANCIAL SERVICES, INC.
c/o Corporate Creations
Network, Inc., Reg. Agent
609 SW 8th Street #600
Bentonville, AR 72712

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
address are:

Timothy Cullen
P.O. Box 3255
Little Rock, AR 72203

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:



                                                     CLERK OF COURT
Address of Clerks Office

LARRY CRANE, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM                                       CLERK Christy Renee McDaniel, DC
LITTLE ROCK, AR 72201
                                                     Date: 04/05/2016
             Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 27 of 39


No. 60CV-16-1941 This summons is for MERIDIAN FINANCIAL SERVICES, INC. (name of
Defendant).



                                          PROOF OF SERVICE

D I personally delivered the summons and complaint to the individual at
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date];
or

D I left the summons and complaint in the proximity of the individual by
                                   after he/she refused to receive it when I offered it to him/her; or
-------------
D I left the summons and complaint at the individual's dwelling house or usual place of abode at
_ _ _ _ _ _ _ _ _ _ [address] with                                   [name], a person at least 14
years of age who resides there, on _ _ _ _ _ _ _ [date]; or

D I delivered the summons and complaint to                       [name of individual], an agent
authorized by appointment or by law to receive service of summons on behalf of
_ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on                                 [date]; or

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



D I was unable to execute service because:




My fee is $ _ _ .

To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -               SHERIFF OF - - - - COUNTY, ARKANSAS

                                By: _ _ _ _ _ _ _ _ _ _ _ __
                                [Signature of server]
             Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 28 of 39




                              [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: - - - - - -             By:-----------
                              [Signature of server]



                              [Printed name]

Address: - - - - - - - - - - - - - - - - - - - - - - - - - - -



Phone: - - - - - - - - - - - - -

Subscribed and sworn to before me this date: - - - - - -



                               Notary Public

My commission expires: _ _ _ _ _ _ _ __

Additional information regarding service or attempted service:
Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 29 of 39




          EXHIBIT ''A-4''
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                Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 30 of 39
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                                                                                                        Pulaski County C1rcu1t Court
                                                                                                      Larry Crane, Circuit/County Clerk
                                                                       2016-May-16 11:31:33
                                                                          60CV-16-1941
                        IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANBAS C06D05. 2 Pages

          SANDRA CARTER, on behalf of herself                                                                 Plaintiff
          and all other similarly situated individuals

          vs.                              Case No. 60CV-16-1941

          MERIDIAN FINANCIAL SERVICES, INC.                                                              Defendant

                                            AFFIDAVIT OF SERVICE

                 I, Timothy J. Cullen, attorney for the Plaintiff herein, do hereby state and allege

          that the following facts are true and correct to the best of my information, knowledge,

          and belief:

                 1. ·    Pursuant to Rule 4 of the Arkansas Rules of Civil Procedure, I mailed a

          copy of the Complaint and Summons to the Defendant. The Complaint and Summons

          were sent via Certified Mail, Restricted Delivery, with return receipt.

                 2.      I received the return receipt from the Defendant, acknowledging receipt

          and acceptance of the Complaint and Summons on May 10, 2016.                             See Exhibit A,

          attached, which is fully incorporated herein and set out as if verbatim.

                 3.      Pursuant to Rule 4 of the Arkansas Rules of Civil Procedure, I have

          perfected Service of Process on the above-named Defendant.

                                                                      Respectfully Submitted,

                                                                      CULLEN & CO., PLLC
                                                                      P.O. Box 3255
                                                                      Little Rock, AR 72203
                                                                      (501) 370-4800

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                                                                      - ·-. ·-.,-<'--- ·----·   ·---. ----- ·-· - - -
                                                                           Timothy J. Cullen




                                                                                                                                          •
        Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 31 of 39




                                                     VERIFICATION

        Subscribed and sworn to before me, a Notary Public, on this the                                                       15th         day of May,
2016.




My Commission Expires:
                                                                                                         REBECCA BURKS
                                                                                                      Arkansas - Grant County
                                                                                                 Notary Public - Comm# 12393937
                                                                                                My Commission Expires Jun 20, 2023




         SENDER: COMPLETE THIS SECTION
         • ComP,J~ Item~ ~, 2, and 3.                                  A S19)     ~       1rn
         • Print your name and address on the reverse                  X X-/           , ., /\ / r/                                 0 Agent
            so that we can return the card to you.
         • Attach this card to the back of the· mallplece,
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              Gregory B. Sheperd, Presidenf ~
              Meridian Financial Services, Inc: ~ ·
              1636 Hendersonville Road, Suite '13S
              Asheville, NC 28803

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511812016                                                                                   - Not an Offic1al Document


  Report Selection Criteria

     Case ID:            60CV-16-1941
     Citation No:
     Docket Start Date:
     Docket Ending Date:


  Case Description

     Case ID:               60CV-16-1941 - SANDRA CARTER V MERIDIAN FINANCIAL SERVICS, INC -JURY TRIAL
     Filing Date:           Tuesday, April 05th, 2016
     Court:                 60 - PULASKI
     Location:              Cl - CIRCUIT
     Type:                  OD- OTHER-TORT
     Status:                none
     Images:




  Case Event Schedule

  No case events were found.

  Case Parties


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  ODD                                     PLAINTIFF/PETITIONER                                      ~006443       'I   CULLEN, TIMOTHY JAMES                                 l
  IP' L - - - -
                                          ATTORNEY
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                                                  Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 33 of 39
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                                                                                            ·--~J[ 1438168iJ~ERIDIAN FINANCIAL SERVICE~~- INC.~
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  ~[____ _
                                                 DEFENDANT

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                                                                                            _ __,  i Aliases: II none



  Violations




  Sentence

  No Sentence Info Found.




  Milestone Tracks

  No Milestone Tracks found.


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   Docket Entries
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  il~~t~:                     A Payment of $165.00 was made on receipt 60Cl232764.
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                                                  Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 36 of 39
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   ~ TO:        MERIDIAN FINANCIAL SERVICES -INC C/O CORPORATE CREATIONS                                                                                   (REG AGEN-T) RECEIVED BY
                        _
   l~~~- __]JULIE HELGESTAD ON 4-29-16

   [1m~g!~____fNo_~ma~~~ __ --------~--------~----]                                                                                    -
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  I 05/16/2016 [AFFIDAVIT OF SERVICE                                                                           JELEN, TIMOTHY JAMES                                          ]                               I
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            EXHIBIT ''B''
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                   IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                     FIFTH DIVISION

SANDRA CARTER, on behalf of herself
and all other similarly situated individuals                                    PLAINTIFFS

vs.
                                Case No. 60CV-16-1941


MERIDIAN FINANCIAL SERVICES, INC.                                              DEFENDANT

                   DEFENDANT'S NOTICE OF FILING NOTICE OF REMOVAL

          PLEASE TAKE NOTICE that Defendant Meridian Financial Services, Inc. has filed a

Notice of Removal in the United States District Court for the Eastern District of Arkansas,

Western Division, as to the above-styled and captioned case currently pending in the Circuit

Court of Pulaski County, Arkansas, Fifth Division. A true and correct copy of that Notice of

Removal pursuant to 28 U.S.C. §§ 1331, 1367, and 1453 as filed with the United States District

Court for the Eastern District of Arkansas, Western Division, is attached and incorporated by

reference as Exhibit A.

                                                     Respectfully submitted,

                                               By:   Isl Ashley Welch Hudson

                                                     Ashley Welch Hudson, AR 07136
                                                     Kutak Rock LLP
                                                     One Union National Plaza
                                                     124 West Capitol Ave., 20th Floor
                                                     Little Rock, Arkansas 72201
                                                     Main Dial: 501.975.3000
                                                     Facsimile: 501.975.3001
                                                     ashley.hudson@kutakrock.com

                                                     Attorneys for Defendant Meridian
                                                     Financial Services, Inc.




4834-9408-6962.1
          Case 4:16-cv-00296-DPM Document 1 Filed 05/27/16 Page 39 of 39




                                CERTIFICATE OF SERVICE

        I hereby certify that on May 27, 2016, that a true and correct copy of the foregoing has
been served on all necessary persons via this Court's eFlex system as of the date of filing by the
Clerk of the Court. An additional copy of the same has been served on the following via
electronic mail:

Timothy J. Cullen
Cullen & Co., PLLC
P.O. Box 3255
Little Rock, Arkansas 72203
timra:cullenandcompanv.com



                                                    Isl Ashley Welch Hudson

                                                    Ashley Welch Hudson




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4834-9408-6962 I
